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Patrick B. Hughes (Bar No. 16648)
phughes@adamsjones.com
ADAMS JONES LAW FIRM, P.A.
1635 N. Waterfront Parkway, Suite 200
Wichita, KS 67206
Telephone: (316) 265-8591
Facsimile: (316) 265-9719

Brett L. Foster (pro hac vice)
foster.brett@dorsey.com
Mark A. Miller (pro hac vice admission)
miller.mark@dorsey.com
Tamara L. Kapaloski (pro hac vice)
kapaloski.tammy@dorsey.com
DORSEY & WHITNEY LLP
111 South Main Street, Suite 2100
Salt Lake City, UT 84111
Telephone: (801) 933-7360
Facsimile: (801) 933-7373

Attorneys for Plaintiffs Parah, LLC and Ozonics, LLC

                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


 PARAH, LLC, a Texas limited liability
 company, OZONICS, LLC, a Texas limited                 SECOND DECLARATION OF SCOTT
 liability company,                                    ELROD IN SUPPORT OF PLAINTIFFS’
                                                          MOTION FOR PRELIMINARY
           Plaintiffs,                                           INJUNCTION

 vs.                                                      Civil Case No. KSD-6-18-cv-01208
                                                                 Judge Eric F. Melgren
 MOJACK DISTRIBUTORS, LLC, a
 Kansas limited liability company, d/b/a                      HEARING REQUESTED
 SCENT CRUSHER,

           Defendant.


         I, SCOTT ELROD, declare as follows:

         1.        I am the founder, owner, and chief executive officer of Plaintiffs Parah LLC and

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the founder, majority owner, and chief executive officer of Ozonics, LLC (collectively

“Ozonics”), Plaintiffs in the above captioned action and submit this second declaration in support

of Ozonics’ pending Motion for Preliminary Injunction (“Motion”) and submit this declaration in

support of Ozonics’ Reply to Defendant’s Response to our Motion. I submitted a first

declaration in support of Ozonics’ Motion for Preliminary Injunction (referred to as my “First

Declaration” and cited to as “Elrod Decl.”) I am fully familiar with the facts set forth in this

declaration from personal knowledge or from documents or other materials that I have reviewed.

If called as a witness, I could and would testify competently under oath to the facts contained

herein.

I.        OBJECTIVE INDICIA OF NONOBVIOUSNESS

          2.       I am the inventor of three asserted patents in this case, i.e., U.S. Patent Nos.

7,939,015 (the “’015 Patent”), 8,404,180 (the “’180 Patent”), and 8,557,177 (the “’177 Patent”)

(collectively the “Ozonics Patents” or Ozonics’ Patents”), and Parah LLC owns the Ozoincs

Patents and and licenses them Ozonics LLC.

          3.       I understand that when evaluating whether an invention would have been obvious,

the analysis must be done from the perspective of a person of ordinary skill in the art to whch the

invention pertains. My inventions as claimed in the Ozonics Patents pertain to the field of

hunting and particularly scent elimination while hunting. This is clearly stated in my patents

under the heading “Field Of The Invention.” I am also aware that the Patent Office examiner

often characterized the relevant art or field as being hunting and human scent elimination during

hunting. Therefore, as the inventor of the Ozonics Patents, it is my opinion that the hypothetical

person of ordinary skill in the art is a person who has at least 2 or 3 years of experience in the


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hunting industry dealing with scent elimination products.

         4.        I also understand that when a Defendant charged with patent infringement

attempts to invalidate a patent on grounds of obviousness, the Court considers “objective indicia

of non-obviousness,” which include the following: commercial success; long-felt unresolved

need; unexpected results; skepticism and industry praise; the infringer’s praise; and copying. I

provide my testimony in this declaration on each of these factors below based upon my personal

knowledge or from documents or other materials that I have previewed.

Commercial Success

         5.        As mentioned in my First Declaration, Ozonics spent millions of dollars to market

its in-field gas generators and to educate our customers about the products and their use, since no

other product like this existed when we launched Ozonics’ product in 2007. Ozonics literally

created a product and market category that did not previously exist, i.e., a portable ozone gas

generator to take into the field to eliminate the hunter’s scent from detection by deer and other

wild animals.

         6.        Based upon our heavy investment of resources and through an incredible amount

of work, we have achieved substantial commercial success.

                                                                                     . A table of

revenue by year for these products is provided below:




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Although Ozonics had sales during 2007-2009, due to circumstances beyond Ozonics’ control, those sales

have been difficult to obtain on short notice. During 2007-2009, Ozonics was in the process of educating

the market about its products and sales during those years were not large. Id.

         7.        Our ozone generators are necessary to practice my patented methods, as claimed

in Ozonics’ Patents. And these sales are driven by Ozonics’ marketing materials and other

efforts that instruct our customers how to use the products to perform the methods claimed in

Ozonics’ Patents. Ozonics’ patented scent elimination technology is the lifeblood of Ozonics’

business. Although Ozonics also sells related accessories, its portable ozone generators are its

flagship products. See https://www.ozonicshunting.com/default/products.

         8.        Ozonics has enjoyed this commercial success and has maintained its exclusivity

by virtue of its patent rights. As Bowhunter Magazine observed in an article entitled 2017

Ozonics Review, “five years ago [November, 2011], Bowhunter Magazine published the first

national, in-depth article on how ozone works and benefits of the technology for hunters. . . .

[w]hen we were researching product manufacturers for that article, we were introduced to

Ozonics, the lone company that was promoting the use of ozone generators while actually



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hunting.” http://www.bowhunter.com/gear-accessories/ozonics-review/ (emphasis added). A

true and correct copy of this article is attached as Exhibit I.1 While there have been infringers

over the years, Ozonics has enforced its patent rights and maintained its exclusivity as the lone

company promoting and selling use of ozone generators in the field while actually hunting – at

least until Scent Crusher’s recent infringement actions.

Long-Felt Need

         9.        I have been personally involved in marketing the Ozonics products and patented

method at trade shows since the inception of the company in 2007. Among many others, I

attended the SHOT Show and ATA Show a number of times the past decade. These are the

largest outdoor and bowhunting related trade shows in the entire industry for commercial buyers

and sellers of hunting and outdoor related products. During my attendance at the SHOT and

ATA shows and many other trade shows every year, I have seen probably more than one

hundred products designed to minimize, mask or eliminate human scent from detection by deer

and other wild animals. These products include no-scent laundry detergent, no-scent camo soap,

carbon infused clothing made with silver threads, clothing sprays, mask or cover up scent

materials, anti-bacterial products, and the list goes on and on (“scent control products”). Most of

these scent control products have been sold for decades. While these scent control products may

minimize the human scent of a hunter (and other foreign scents relating to a hunter), none of

them uses ozone to eliminate human scent in the field while hunting. Before Ozonics products,

there was no known way to actively eliminate the scent from the hunter and his/her clothing




1
    Exhibits A-H were attached to my First Declaration.

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while in the field hunting. If a hunter was in the field and the wind were to shift and blow in the

direction of the deer (or other wild animal), the deer would smell human scent and flee.

         10.       In my practice as a dentist, as indicated in my First Declaration, I became familiar

with the scent-destroying power of ozone and applied it in the field in the hunting context and

obtained patent protection for my invention. No one had done this before. The prior art

considered by the Patent Office when evaluating my applications (which is the same art now

relied on by Scent Crusher to attack my patents) showed the use of ozone in closed/sealed

environments and the use of masking scents that attract game in the field. All of these prior

methods of scent control and scent control products actually discouraged pursuing my invention.

At the time of my invention, the conventional wisdom was to use a substantially sealed

environment to use ozone to descent clothing and gear before heading to the field. Many hunters

used scents that attract game as a lure while hunting, sometimes applying such scents to

themselves. My idea seemed counter-intuitive, because using ozone in the open air in the field

could counteract the benefit hunter’s seek from using game-attracting scents to mask their own

smells while in the field. My patented method was the first to seek to eliminate human scent in

the field while hunting. Specific testimonials of skeptics are provided in the next section of my

declaration showing how unexpected my invention was and how it went against the conventional

wisdom at the time.

Unexpected Results, Skepticism, and Industry Praise

         11.       Despite Ozonics’ vigorous marketing efforts, the hunting industry has shown a

great deal of skepticism about the effectiveness of in-field ozone devices. Even those who know

that ozone is beneficial for sterilizing and de-scenting under specialized, controlled conditions


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remain skeptical of the effectiveness of using this chemical in the hunting field. This skepticism

almost invariably gives way to conviction once a user puts our products and patented methods to

the test—a conviction that the benefits we promise are real and provide hunters with a real edge

that other scent-management products do not. The sequence is much like a three-act play: (1)

individual and industry skepticism, (2) use (often just a single use), and (3) conversion,

conviction and industry praise. It is a process repeated by consumers and professional hunters,

alike, every time someone successfully uses our ozone generator in the field while hunting.

         12.       The experts at Bowhunter Magazine are among the most highly respected experts

in the bowhunting community. In the “2017 Ozonics Review” article, noted above, the author,

Mike Carney stated:

         Having a pretty decent background in understanding how ozone works to
         decontaminate, cleanse, and disinfect, I personally couldn’t wrap my head
         around it being effective in an open-air environment, nor could any of our
         staff. And we said as much in that 2011 article. . I did try [the Ozonics HR200]
         while stand hunting that fall, and was astonished at how effective it was. Used
         in a ground blind, it was utterly amazing. I was eager to share my enthusiasm for
         the product with our staff members at Bowhunter, Petersen’s Bowhunting, North
         American Whitetail and Petersen Hunting Magazines. . . . [after being provided
         “loaner units” to test], [w]ithin a month, the e-mails and interoffice calls came
         pouring in, and they were all of the extremely positive, yet bewildered nature.
         Actual disbelief over how effective the [Ozonics] HR200 units were proving to
         be!

http://www.bowhunter.com/gear-accessories/ozonics-review/ (Ex. I.) (emphasis added)

         13.       OutdoorHub managing editor Dave Mass similarly wrote in November 2016:

         I’ve been pursuing whitetails with a bow and guns for nearly 40 years, so when a
         company promises that their new product will improve my success, I’m a skeptic
         of Boone and Crockett proportions. That said, I do try to keep an open mind,
         so each year I’ll bring a few new products into the field to give them a fair shot.

         One such product is the Ozonics Scent-Destroying device. Like many of you, I
         had heard about Ozonics before (TV hunting shows mostly), but never really

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         gave the unit serious considerations. For starters, I prefer to travel light when
         hunting from a tree stand or ground blind, and I just couldn’t see myself carrying
         an Ozonics unit in my day pack each day. And would it really help fool a
         whitetails nose? Like I said, I was skeptical . . . .

         After dozens of trips into the field the past two weeks in South Dakota (24
         morning/afternoon hunting blocks), I can honestly say that Ozonics is a
         game-changer. I’ve had more than 100 deer downwind of my various tree
         stands, and not a single one has busted me. At times, they stop and lift their
         nose to try to pick apart the upwind smells (me!), but they have not reacted
         negatively. Most often they simply continue on their normal route. Of
         course, I still do my best to hunt into the wind, but because of unpredictable river
         bottom winds, it’s comforting to know that Ozonics has my back.

http://www.outdoorhub.com/reviews/2016/11/18/field-test-ozonics-scent-destroying-device/

(emphasis in original). A true and correct copy of this article is attached as Exhibit J.

         14.       Reviews of our products sourced from our company Facebook page2 show this

pattern:




2
    Available at: https://www.facebook.com/pg/OzonicsHunting/reviews/?ref=page_internal

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A true and correct copy of the foregoing Facebook posts are attached as Exhibit K.

         15.       Professional product reviewers also go from skepticism to praise after use. The

professionals from thebiggamehuntingblog.com state:

         There are many products on the market these days that proclaim to eliminate or
         reduce your scent, but I’ve always been skeptical of their performance. . . . I had

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         the opportunity to test out an Ozonics HR-200 electronic scent eliminator (courtesy
         of the good folks at Ozonics) on a recent bear hunt in Washington[] as well as a
         deer hunt in Texas. After seeing what it did for me on those hunts, I must say
         that I’m now a true believer in the performance of the machine.”

http://thebiggamehuntingblog.com/ozonics-hr-200-review/ (emphasis added). A true and

correct copy of this blog post is attached as Exhibit L.

         16.       The professionals at wiredtohunt.com state:

         “I must admit – I was a skeptic. For the past couple years I’ve been hearing about
         Ozonics and every time I shook my head and chuckled. What would they come up
         with next? Why would someone ever want to haul a machine out into the woods
         with them to blow some chemical around? Not only did it seem inconvenient – but
         I doubted it really worked. But a few friends of mine continued to gush about them
         and finally this spring, I was convinced to give one a try. And so I did. Now a year
         later – believe it or not – I can honestly say that I will never head into the woods
         to hunt again without one.”

http://wiredtohunt.com/2012/03/06/gear-review-ozonics-hr-200/ (emphasis added). A

true and correct copy of the foregoing website comment is attached as Exhibit M.

         17.       Ozonics’ in the field ozone process even drew skepticism and then industry praise

from more scientific reviews. In an article entitled “Does It Work? Ozone Scent Control vs.

Drug-Sniffing Dog”, published by the well-respected Field & Stream magazine used a well-

known test used by police trained dogs. Specifically, Field & Stream used a police trained K-9

dog (named Chance) to find the “bad guy” hiding in one of six square boxes evenly spaced

across a large field. In summarizing the test, the Field & Stream author stated:

         Ozone, they claim, contains an extra oxygen molecule that attaches itself to other
         molecules – say, B.O. molecules – and changes their structure. I’m eager to
         examine any deer hunting trend and, if necessary, flip it on its head. So I
         enlisted Chance, a highly trained police dog, to test ozone’s effectiveness. I
         watched Chance’s nose zip through every sort of no-scent solution and was fully
         prepared for an ozone route. But that’s not exactly what I got.



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July 28, 2014 Field & Stream article entitled: Does it work? Ozone scent control vs.

Drug-Sniffing Dog, by Scott Bestul,

https://www.fieldandstream.com/articles/hunting/2014/07/does-it-work-ozone-scent-

control-vs-drug-sniffing-dog (emphasis added). 3 A true and correct copy of this Field &

Stream article is attached as Exhibit N.

         18.       When the K-9 dog was turned loose to find the “bad guy” without Ozonics

or any other no-scent product: Chance barked at his box after only 14 seconds.

Id.

         19.       Here was the result of Chance looking for the “bad guy” called Bob who

was using an Ozonics unit:

         Even the handler was stunned at how long it took Chance to find Bob. Again, the
         dog ran two full laps before choosing the right box, and his first bark was
         tentative – like a guess. This was the most shocking result in four years of testing.
         We’d put Borowiak’s other no-scent regimes under Chance’s scrutiny before, and
         the dog had found Bob almost immediately. Yet the addition of ozone confused
         that nose for nearly 1 minute, which amazed everyone.

Id. (emphasis added)

         20.       Dr. James Kroll, of the Whitetail Breeding and Nutrition Research Center,

conducted a scientific test on Ozonics scent control system and reported that on the North

American Whitetail.com website. The summary of this test is via video, a true and correct copy

of this video is found at http://www.northamericanwhitetail.com/tv/stand-ozonics-scent-control-

test. Here is what Dr. Kroll concluded after his test:



3
  In another one of the tests conducted in the “bad guy”, infused his clothing with ozone in a plastic tub and used a
product from whitetailr.com. It took Chance 42 seconds to find the bad guy. Importantly, Whitetail’R started its
ozone use in an infringing matter. As discussed below, Ozonics sued Whitetail’R and Whitetail’R stopped and no
longer sells an ozone generator for use in the field for hunting.

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         Bottom line is low and behold there was a statistically significant difference
         between the number of deer that were coming to the bait downwind when the
         Ozonics unit was on versus when it was off. There were more deer coming when
         it was on so we concluded that low to moderate wind velocity that the Ozonics
         unit was doing what it was supposed to do.

Id.

         21.       In 2010, after the release of our first product, the FBI and Canadian Intelligence

evaluated Ozonics’ system to evaluate risks of criminals utilizing the technology to avoid drug-

sniffing K-9 units, as reported by Fox News. A true and correct copy of the Fox News article is

attached as Exhibit P. In the article, Fox News reports:

          Ozone eliminates odors by destroying — not masking — bacteria, germs and viruses.
         The use of ozone in heavy-duty cleaning products is nothing new, but a Texas-based
         company called Ozonics, which was founded by a group of hunters, has changed the
         game by making an ozone device portable, according to the intelligence report.

         22.       The foregoing represent a subset of many other instances of industry skepticism

and subsequent praise because of the unexpected results my patented invention achieves when

using our ozone generator in the field for hunting. The foregoing is far from comprehensive but

it will provide the Court with more than sufficient information to establish this objective indicia

of non-obviousness.

Praise by the Infringer

         23.       As indicated in my First Declaration, Scent Crusher infringed our patents in 2015,

and Ozonics sent a cease and desist letter. Scent Crusher thereafter discontinued its infringing

activities.

         24.       As in my First Declaration I testified concerning the approximate dates when I

was approached by Dan Drake and Scent Crusher. See First Decl. at ¶¶ 27, 28. After signing

and filing my declaration, I was able to find a letter from Mr. Drake, the President/CEO of

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MoJack/Scent Crusher, dated August 24, 2016. A true and correct copy of that letter is attached

as Exhibit O.4 This letter better establishes the first time that Scent Crusher approached me to

buy my company, license the Ozonics Patents or engage in a joint venture. I quote some

portions below:

         I clearly have respect for what you have done in pioneering ozone in the hunting
         industry. You have done an unbelievable job of creating products and
         educating the hunting world about the properties and benefits of ozone for
         the hunter.

         . . . I understand your passion for the product and your time and energy building
         the marketplace. I have done the same thing building lawnmower lifts and
         introducing them into mass retail with my MoJack side of the business.

         I would enjoy an opportunity to sit down and discuss our business. I believe the
         combination of our products, marketing, ozone expertise and sales teams would
         be an unstoppable force. I have watched your business and believe it would be a
         great fit with our company. With that in mind I would like to talk about a
         strategic partnership or buying your company for $10 million. I understand that
         there are a lot of variables but would enjoy an opportunity to sit down with you
         and discuss in person.

Id. (emphasis added). This letter was followed by at least two in-person discussions

mentioned in my First Declaration.

         25.       While I believe Ozonics and our patented technology was and is worth well

beyond the Scent Crusher’s $10 million purchase and licensing offers, Mr. Drake’s letter

nevertheless indicates the value Mr. Drake sees that is tied directly and inextricably to the value

of our patented technology. I find it hard to believe Mr. Drake would place this value on my

technology if he truly believed my patents were invalid and worthless.



4
 I lost the hard copy of this letter during Hurricane Harvey when my home was flooded.
Fortunately, my assistant received the document and scanned it to me before sending the original
and thus, it was thankfully preserved.

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Copying

         26.       To my knowledge, Scent Crusher’s infringing portable ozone generators for use in

the field for hunting are not yet commercially available. We understand that they will be

available and shipped approximately August 17, 2018, or sooner after. That is why we brought a

motion for preliminary injunction: to stop the infringement before it creates irreparable harm to

Ozonics. Even though the product is not yet commercially available, Scent Crusher’s advertising

clearly teaches the infringing use of the products. To the extent copying is important as an

objective indicia of non-obviousness, Scent Crusher has duplicated not only many characteristics

of the Ozonics products, but also the specific marketing methods used by Ozonics which teach

the patented method.

         27.       For instance, Scent Crusher sells two accused products—the “Field Pro” and

“Field Lite” portable ozone generators—just like Ozonics’ two products – the HR230 and

HR300. See Exhibit E to my First Declaration.

         28.       In addition to selling the ozone generator, Scent Crusher, like Ozonics, also offers

mounting accessories including a tree screw to be used in performing my patented methods.

Compare www.scentcrusher.com/field-pro/ and www.scentcrusher.com/field-lite/ with

https://www.ozonicshunting.com/default/products.

         29.       Scent Crusher’s accused products, like Ozonics’ flagship products, are

lightweight, portable ozone generators configured to be attached to mounts affixed to trees or

ground blinds. This can be seen in pictures available on Scent Crusher’s website. See

www.scentcrusher.com/field-pro/ and www.scentcrusher.com/field-lite/. The pictures below




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were sourced from Scent Crusher’s web site and show the intended use of the products precisely

as claimed in my patents and as taught on Ozonics’ own web site.




         30.       I note, also, that Scent Crusher has introduced two ozone generators to the

market—one having greater relative ozone output and other features—just like Ozonics to ozone

products.

         31.       Scent Crusher’s marketing language, unsurprisingly in view of the similarity of

the accused products to Ozonics’ products, tracks almost identically to Ozonics’. For example,

Scent Crusher’s website states that the “new Scent Crusher Field Pro is your ozone blanket for

the tree stand and ground blind.” See https://scentcrusher.com/field-pro/. Ozonics has long used

the concept of an ozone “blanket” in describing and marketing its products. For example,

Ozonics’ product manual states that “[e]ach Unit actively blankets your scent with odor-

destroying ozone.” See Exhibit C to Dkt. 9. See also

https://www.ozonicshunting.com/default/how-ozonics-works (same). Scent Crusher’s products

copy this functionality found in Ozonics’ products in the field while hunting. I’ve attached to


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this declaration true and correct copies of similar descriptions from Lancaster Archery Supply’s

website. See Exhibit Q (Field Pro) and Exhibit R (Field Lite).

II.      EFFORTS TO ENFORCE PATENT RIGHTS AND MAINTAIN EXCLUSIVITY

         32.       Multiple companies have copied Ozonics’ patented designs of in-the-field ozone

generators. In or around 2012, a company called Whitetail’R released a product called

ScentPurge 35 (shown below). ScentPurge 35 was an ozone generator for being deployed in-the-

field and ran on four AA batteries.




         33.       On August 8, 2013, Ozonics filed a lawsuit with the United States District Court

for the District of Utah (“District Court”) alleging that the ScentPurge 35 infringed the ’180

Patent and the ’177 Patent.

         34.       On April 4, 2014, the District Court issued a permanent injunction ordering

Whitetail’R to cease selling any in-the-field ozone generators, including the ScentPurge 35 based

on infringement of the ’180 Patent and the ’177 Patent.

         35.       In or around 2010, a company called Information Unlimited, Inc. (“Information

Unlimited”) released a product called OZONE30 (shown below). OZONE30 was an ozone

generator being marketed to hunters to be deployed in the field.




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                                 Information Unlimited – OZONE30

         36.       On July 9, 2014, Ozonics filed an action with the District Court alleging that the

OZONE30 infringed the ’180 Patent and the ’177 Patent.

         37.       On October 2, 2014, Information Unlimited agreed to cease selling any in-the-

field ozone generators.

         38.       Before June 2016, a company called Scentlok Technologies, Inc., and SLA

Technologies, LLC released a product referred to as the “Enforcer” that was an ozone generator

for being deployed in-the-field while hunting.

         39.       On June 8, 2016, Ozonics filed a lawsuit with the United States District Court for

the District of Utah alleging that Scentlok infringed the Ozonics Patents.

         40.       On June 29, 2017, Scentlok reached an agreement with Ozonics to resolve the

lawsuit. While the terms of the settlement agreement are confidential, Scentlok has not, to my

knowledge, advertised or sold an ozone generator for use in the field while hunting deer or other

game animals since the parties reached a settlement. If at any time Scentlok breaches our

settlement agreement and infringes the Ozonics Patents, Ozonics will take appropriate

enforcement action.

         41.       Because of our patent protection relating to in-the-field ozone generators, nearly

all of our competition, with the exception of Scent Crusher, do not advertise and sell in-the-field


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ozone generators. Imitation is the sincerest form of flattery, and I am flattered that so many of

our competitors have attempted to copy our in-the-field ozone generator system. However, I am

also thankful that Ozonics’ competitors have implicitly acknowledged their infringement and the

value of my patented inventions by ceasing to sell in-the-field ozone generators when Ozonics

has asserted its patent rights. While Scent Crusher appears to claim that there are other

competitors that may infringe our patents, I am not aware of any infringers other than Scent

Crusher at this time. We have maintained exclusivity by taking significant and costly efforts to

enforce our patents, all of which have been successful to date. Ozonics is asking this Court for

immediate action to ensure that we can continue to maintain our exclusivity given our hard

earned patent rights and associated good will and market share, etc. after investing 14 years in

this field, the development of a market for a new, pioneering product line, and successful

enforcement of our patent rights.

III.     SCENT CRUSHER’S PRODUCT MANUALS

         42.       Scent Crusher has recently published instruction manuals for the Field Pro and

Field Lite on its website. See https://scentcrusher.com/product-manuals/. Attached to this

declaration are true and correct copies of the Field Pro manual (Exhibit S) and the Field Lite

manual (Exhibit T).

         43.       I have reviewed the opposition papers that Scent Crusher submitted in response to

our preliminary injunction motion. Scent Crusher argues that Ozonics has failed to establish

direct infringement because our motion papers “do not contain any allegations or reference any

evidence which proves that: (1) the pictured Scent Crusher Products are “generating a stream of

oxidizing gas”; (2) the pictured Scent Crusher products are “in a field in which game animals are


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present”; or (3) the steam [sic] of oxidizing gas eliminates scents in air traveling downwind of a

hunter.” Scent Crusher Opp. at 11. I disagree. Scent Crushers’ product manual for the Field Pro

instructs users that: (1) the Field Pro generates “65% more ozone output” (see Exhibit S at 2);

(2) users will enjoy the “Scent Crusher Field Pro for many successful hunts” (see id.), including

for “big game” (see id. at 6); and that (3) the Field Pro “attacks and kills bacteria that cause odor

. . . leaving you and your gear scent-free” (see id. at 3) when users “position the unit facing the

downwind direction” (see id. at 7).

         44.       I understand that Scent Crusher also claims that its ozone generators do not

“eliminate scents.” This is contrary to the science behind ozone and to Scent Crusher’s own

statements and representations on its website and in its product manuals.

         45.       The “Frequently Asked Questions” page on Scent Crusher’s website states that

ozone is a “cleaning agent” that “eliminate[s] odors” and represents that its ozone products are

“effective at eliminating or killing these smells.” See https://scentcrusher.com/faq/. I’ve

attached to this declaration a true and correct copy of a printout from this page as Exhibit U.

         46.       Scent Crusher also includes the Field Lite and the Field Pro as part of its “Scent

Elimination Products” on its website. A true and correct copy of Scent Crusher’s “scent

elimination products” page on its website is attached hereto as Exhibit V.

         47.       Scent Crusher’s product manuals for the Field Pro and the Field Lite also instruct

users “[o]zone attacks and kills bacteria that cause odor . . . leaving you and your gear scent-

free.” See Exhibit S (Field Pro) at 3; Exhibit T (Field Lite) at 3.

         48.       Finally, the hunting industry recognizes that the Field Pro and Field Lite are

designed for “scent elimination”:


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These posts are available online at https://www.facebook.com/ScentCrusherCo/. A true and

correct copy of these posts are attached to this declaration as Exhibit ZA, which is a collection

of posts excerpted from Facebook.

IV.      IRREPARABLE HARM

         49.       I understand that Scent Crusher claims that Hunting Made Easy, Bone View, Leap

Outdoors, and ScentLok are competitors of Ozonics because they offer in-the-field ozone

generators for hunters. That is not my understanding. Hunting Made Easy, Bone View, and

Leap Outdoors all expressly advise their users that their products are designed for enclosed



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spaces such as gear bags, backpacks, totes. or small rooms. See, attached to this declaration, true

and correct copies of excerpts from the websites as these companies, Exhibit W (Bone View),

Exhibit X (Leap Outdoors), and Exhibit Y (Hunting Made Easy.) I do not consider these

companies to be Ozonics’ competitors.

         50.       ScentLok only recently announced its product (after Scent Crusher announced the

Field Pro and Field Lite), I have not evaluated the advertising for the product, and it is not yet

available to purchase. In addition, as stated above, ScentLok is precluded by a settlement

agreement between ScentLok and Ozonics to sell products that infringe Ozonics’ Patents.

Ozonics will certainly enforce its settlement agreement and patents rights against Scentlok, if

necessary. But given my current understanding, I do not consider ScentLok to be a current

competitor of Ozonics.

         51.       Scent Crusher also states that Hunters Specialties offers a non-ozone based scent

control product. This company, and its wafer-based masking product, is also not a competitor to

Ozonics.

         52.       Based upon my review of the market, it appears that Scent Crusher’s infringing

products are selling very well. Given the massive advertising campaign that Scent Crusher has

used in launching its products, I am deeply concerned that if Scent Crusher is allowed to

penetrate the market with the Field Pro and Field Lite it could completely displace Ozonics’

sales and drive Ozonics out of the market entirely.

         53.       In response to Scent Crusher’s marketing materials for the Field Pro and the Field

Lite, numerous customers have stated that they will buy one or have preordered one, as shown by

the following excerpted responses to some of Scent Crusher’s social media:


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         A true and correct copy of these posts is attached hereto as Exhibit ZA.




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